                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                    Plaintiff,

       v.                                                  Case No. 05-CR-011

LAWRENCE T. TURNER,

                                    Defendant.


                   ORDER SETTING CONDITIONS OF DETENTION



       Upon the petition of the United States Attorney for the Eastern District of Wisconsin,
and good cause appearing after a hearing thereon,
       IT IS HEREBY ORDERED, that the defendant, Lawrence T. Turner, is barred from
using the telephone at the Waukesha County Jail for any purpose.
       IT IS FURTHER ORDERED, that the defendant is barred from receiving visits at the
Waukesha County Jail from anyone other than his attorney, Mark Rosen.
       IT IS FURTHER ORDERED, that the defendant is permitted to send and receive mail,
but only if that mail is first opened and reviewed by officers at the Waukesha County Jail to
ensure that the defendant is not sending or receiving any messages related to the commission of
any criminal offense under Federal or State law. The defendant has consented in open court to
the reading of his outgoing and incoming mail.
       SO ORDERED this 8th day of December, 2005.


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge




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